     Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 1 of 24




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

MICHELLE MAZIAR,                       )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )     CIVIL ACTION FILE NO.
                                       )     1:21-cv-02172-SDG-CMS
CITY OF ATLANTA, GEORGIA,              )
et al.                                 )
                                       )
      Defendants.                      )
         PLAINTIFF’S OBJECTIONS TO MAGISTRATE JUDGE’S
            NON-FINAL REPORT AND RECOMMENDATION

      Defendant City of Atlanta paid Plaintiff Michelle Maziar, a white woman,

tens of thousands of dollars less than her black counterparts and when she

complained about the difference in pay and about certain City practices she believed

violated the law, she was retaliated against culminating in her termination.

Defendants Keisha Lance Bottoms and Carmen Chubb had authority to set Maziar’s

and her counterparts’ salaries, demote Maziar, and terminate her, thus she filed this

suit alleging race discrimination claims under the Equal Protection Clause, 42 U.S.C.

§ 1981, and Title VII; retaliation claims under 42 U.S.C. § 1981 and Title VII; and

a violation of the Georgia Whistleblower Act. (See Doc. 26).
         Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 2 of 24




          After Maziar filed her Second Amended Complaint, Defendants moved to

dismiss four of Maziar’s seven claims (Docs. 32, 32-1), and the Magistrate Judge’s

Report & Recommendation (“R&R”) recommends granting Defendants’ motion in

full (Doc. 37).1 In so doing, the Magistrate Judge erroneously disregards many of

Maziar’s well-pleaded allegations and imposes a seemingly heightened pleading

standard better suited at the summary judgment stage. Maziar respectfully urges the

Court to reject R&R’s errors, deny Defendants’ motion to dismiss, and allow her

claims to proceed to discovery. See 28 U.S.C. § 636(b)(1), Fed. R. Civ. P. 72.

    I.       FACTS RELEVANT TO PLAINTIFF’S OBJECTIONS

          Maziar, a white woman, worked for the City of Atlanta (“the City”) beginning

in May 2015 as the Director of the Mayor’s Office of Immigrant Affairs. (Doc. 26

(Second Am. Compl.) ¶¶ 10–11). The Office of Immigrant Affairs is one of

approximately fifteen Executive Offices under the Office of the Mayor. (Id. ¶ 12).

Each Executive Office is charged with overseeing a discrete task or service on behalf

of the City. (Id. ¶ 13). Although the subject matter of the task or service varies across


1
  Defendants sought dismissal of Maziar’s race discrimination claims brought under
the Equal Protection Clause, 42 U.S.C. § 1981, and Title VII (Counts I, II, and IV)
and her retaliation claim brought under Section 1981 against the individual
defendants (Count III). (Doc. 32-1 at 6–12). Interestingly, Defendants did not
initially move to dismiss Plaintiff’s Title VII race discrimination claim. (See Doc.
19). It was added after the Magistrate Judge held a hearing on Defendants’ Motion
to Dismiss and suggested she would dismiss the claim if Defendants so moved.
                                            2
     Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 3 of 24




each Executive Office, each Office and its Director(s) share a common mission:

ensure that the Mayor’s interests and priorities, as they relate to the Executive Office,

are fulfilled. (Id. ¶¶ 12–15). Accordingly, all Executive Office Directors are

appointed or reappointed by the Mayor, here, Mayor Bottoms. (Id. ¶ 14). And, for

the vast majority of Maziar’s tenure, all Directors reported to the Chief Operating

Officer or the Chief of Staff, both of whom report to the Mayor. (Id. ¶ 17).

      Within the City of Atlanta, Executive Office Directors are classified as

Executive Directors or Directors without regard to responsibility, experience, or

seniority. (Id. ¶ 16). All Directors are compensated according to City-regulated pay

grades, but the Mayor has authority to set Directors’ precise salaries within the

individual’s designated range. (Id. ¶ 19). Such salaries are reviewed and approved

or adjusted annually by the Mayor or her designee. (Id. ¶ 20).

      From the time Bottoms entered office until Maziar’s termination, Maziar

earned approximately $108,150 annually. (Id. ¶ 21). Around October 2018, Maziar

noticed that she was being paid much less than black Directors of other Executive

Offices, even though the Directors had less or comparable tenure with the City and

supervised fewer employees than she did. (Id. ¶¶ 10, 22–25). These Directors include

but are not limited to: (1) Philana Williams, the Co-Director of the Office of

Film/Entertainment, who earned around $150,000 annually; (2) Cardellia Hunter,

                                           3
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 4 of 24




the Co-Director of the Office of Film/Entertainment, who earned around $150,000

annually; (3) Lanese Harris, the Director of the Office of Television & Technology,

who earned around $145,000 annually; and (4) Curtis Bailey, the Executive Director

of Constituent Services, who earned around $135,700 annually. (Id. ¶ 22).

      All four Directors occupied comparable grades to Maziar, had less time in the

Director position and with the City than Maziar, and supervised fewer employees

than Maziar. (Id. ¶ 24). Williams was appointed Co-Director in or around July 2019,

she supervises three employees, and is a grade 29 employee; Hunter was appointed

Co-Director in or around July 2019, she supervises three employees, and is a grade

29 employee; Harris was appointed Director around February 2018, she supervises

four employees, and is a grade 31 employee; and Bailey was permanently placed as

Director in or around June 2018, he supervises five employees, and is a grade 29

employee. (Id. ¶ 22). By contrast, Maziar was appointed Director in May 2015, she

supervised seven employees, and she was a grade 30 employee, yet she made around

$30,000 to $50,000 less a year than her black Director-peers. (Id. ¶ 24).

      When Maziar noticed this disparity in pay, she met with her designated

Human Resources representative. (Id. ¶ 25). Over the course of the next two years,

Maziar repeatedly complained to Human Resources that her salary was much lower

than that of other Directors, but her complaints were often dismissed or ignored. (Id.

                                          4
     Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 5 of 24




¶ 26). Defendant Chubb was aware of Maziar’s internal complaints at least as of

September 2020. (Id. ¶ 27). In October 2020, after two years of repeated complaints

and inquiries about the salary disparity, the City responded that Maziar’s salary

would not be adjusted to that of her peers. (Id. ¶¶ 25–26, 28).

      Maziar filed a charge of discrimination with the EEOC on December 21, 2020

claiming that the disparate compensation was based on race. (Id. ¶ 29). After Maziar

made internal complaints and filed an EEOC Charge, the City began retaliating

against her by placing two additional supervisors between her and Bottoms and

Chubb, effectively demoting her. (Id. ¶ 30). Before filing her charge, Maziar had a

direct line to Bottoms and all senior members of the administration. (Id.). After filing

her charge, Maziar was told she was no longer allowed to reach out to the Mayor,

commissioners, or their deputies without prior authorization from Chubb or her new

supervisor. (Id.). This effective demotion forced Maziar to suffer a loss in prestige

because she was the only Executive Officer Director subject to these new, restrictive

communication rules and layers of supervision. (Id.). Maziar amended her EEOC

charge to include these retaliatory adverse actions on April 27, 2021. (Id. ¶ 31).

      Maziar was terminated on May 6, 2021, nine days after she filed her amended

EEOC charge. (Id. ¶ 35). During her termination meeting, Maziar pressed for an

explanation for the termination which was not provided. (Id.). Only Bottoms and

                                           5
     Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 6 of 24




Bottoms’ designees, which include Chubb, had the authority to demote or terminate

Maziar. (Id. ¶ 36).

   II.      STANDARD OF REVIEW

         Upon receiving objections to an R&R, this Court “shall make a de novo

determination of those portions of the report or specified proposed findings or

recommendations to which objection is made.” 28 U.S.C. § 636(b)(1)(C); see Fed.

R. Civ. P. 72(b)(3). Where no objections are made, the Court reviews those portions

of the R&R for clear error. See Fed. R. Civ. P. 72(a); 28 U.S.C. § 636(b)(1)(A). After

review, the Court may accept, reject, or modify the Magistrate Judge’s findings and

recommendations. See Fed. R. Civ. P. 72(b)(3); 28 U.S.C. § 636(b)(1)(C).

         A Court ruling on a motion to dismiss must view the complaint’s allegations

in the light most favorable to the plaintiff, consider the allegations as true, and accept

all reasonable inferences therefrom. Karantsalis v. City of Miami Springs, Fla., 17

F.4th 1316, 1319 (11th Cir. 2021). The Court must deny a motion to dismiss if the

complaint contains sufficient factual matter, accepted as true, to state a claim to relief

that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A claim is

plausible where the plaintiff alleges facts that “allow[] the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id.




                                            6
     Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 7 of 24




       Under Rule 8(a)(2), a complaint need only contain “a short a plain statement

of the claim showing that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2),

“[s]pecific facts are not necessary; the statement need only ‘give the defendant fair

notice of what the . . . claim is and the grounds upon which it rests,’” Erickson v.

Pardus, 551 U.S. 89, 93 (2007) (quoting Bell Atlantic v. Twombly, 550 U.S. 544,

555 (2007)). Indeed, a complaint may survive a motion to dismiss even if it is

“improbable” that a plaintiff would be able to prove those facts and even if the

possibility of recovery is extremely “remote and unlikely.” Twombly, 550 U.S. at

556 (internal quotation marks omitted).

    III.   PLAINTIFF’S OBJECTIONS TO THE R&R

     A. The R&R improperly holds Maziar to an unreasonably high pleading
        standard in recommending dismissal of her race discrimination claims.

       Maziar identifies four comparators to support her race discrimination claims,2

(see Doc. 26 ¶¶ 12–24) yet the R&R concludes she failed to plead facts that plausibly

suggest she was similarly situated to her proffered comparators and recommends




2
  The R&R and the parties addressed together Maziar’s Equal Protection Clause,
Section 1981, and Title VII race discrimination claims, as all are subject to the same
legal analysis. See Crawford v. Carroll, 529 F.3d 961, 970 (11th Cir. 2008); (Doc.
32-1 at 6–7; Doc. 33 at 8 n.3; Doc. 37 at 15).
                                          7
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 8 of 24




dismissal of all her race discrimination claims (Doc. 37 at 18–22).3 In so doing, the

R&R improperly demands that Maziar list detailed facts outside of her knowledge

in order to survive Defendants’ motion to dismiss. This Court should reject the

R&R’s attempt to hold Maziar (and future employment discrimination plaintiffs) to

an unreasonably high pleading standard and allow her race discrimination claims to

proceed.

      To ultimately prevail on a race discrimination claim, a plaintiff must prove

that she (1) is a member of a protected class, (2) was qualified for the position at

issue, (3) suffered an adverse employment action, and (4) was treated less favorably

than a similarly situated individual outside her protected class. See McDonnell

Douglas Corp. v. Green, 411 U.S. 792, 802 (1973). However, “a plaintiff’s

complaint ‘need not allege facts sufficient to make out a classic McDonnell Douglas

prima facie case’ to survive a motion to dismiss.” Gomez v. City of Doral, No. 21-

11093, 2022 U.S. App. LEXIS 85, *5 (11th Cir. Jan. 3, 2022) (quoting Surtain v.

Hamlin Terrace Found., 789 F.3d 1239, 1246 (11th Cir. 2015)). Instead, a complaint

“must merely provide enough factual material to raise a reasonable inference, and




3
  Maziar addresses the R&R’s specific analysis regarding her race discrimination
claims against Bottoms and Chubb below at pp. 14–18 and her Section 1983 claim
against the City at pp. 21–22.
                                         8
     Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 9 of 24




thus a plausible claim,” that her employer engaged in race discrimination. Speaker

v. United States HHS CDC & Prevention, 623 F.3d 1371, 1386 (11th Cir. 2010).

      At this early stage, Maziar has provided sufficient facts to support her race

discrimination claims. Maziar names four comparators who were paid tens of

thousands of dollars more than she was: (1) Philana Williams, the Co-Director of the

Office of Film/Entertainment, (2) Cardellia Hunter, the Co-Director of the Office of

Film/Entertainment, (3) Lanese Harris, the Director of the Office of Television &

Technology, and (4) Curtis Bailey, the Executive Director of Constituent Services,

all of whom are black. (Doc. 26 ¶ 22). Like Maziar, each person led one of the

approximately fifteen Executive Offices under the Office of the Mayor. (Id. ¶ 12).

True, the Offices had different missions, but Maziar and all four comparators were

the senior-most administration officials within their Executive Offices and all had

the same directive: ensure the Mayor’s priorities with respect to their respective

Offices were fulfilled. (Id. ¶¶ 13, 15). Additionally, Maziar alleged that all five held

the same title, occupied comparable pay grades, were appointed or reappointed by

Bottoms directly, and, before Defendants began retaliating against Maziar, reported

to the same people.4 (Id. ¶¶ 13–17, 22). Further, Maziar supervised more employees


4
  The R&R mistakenly reads Maziar’s allegation that “Directors are classified as
Executive Directors or Directors with no regard to responsibility, experience, or
seniority,” to suggest that “individuals at the Director level could be as different as
                                           9
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 10 of 24




and had a longer tenure with City than her comparators (id. ¶¶ 22–24), so those

factors could not serve as the basis for the pay disparity. These allegations allow a

reasonable inference that Maziar’s proffered comparators are similarly situated to

her, which is all that is required at this point. See Reid v. Wolf, No. 1:20-cv-1235,

2021 U.S. Dist. LEXIS 138160, at *17 (N.D. Ga. Jan. 7, 2021), report and

recommendation adopted No. 1:20-cv-1235, 2021 U.S. Dist. LEXIS 128662 (N.D.

Ga. Jan. 25, 2021).

      Under Rule 8(a)’s permissive pleading standard, Maziar’s allegations

regarding her proffered comparators are more than sufficient to support her race

discrimination claims. See, e.g., Winstead v. Lafayette County Bd. of Cnty. Comm’r,

197 F. Supp. 3d 1334, 1339 (N.D. Fla. 2016) (“[E]ven after Twombly and Iqbal,

Rule 8(a) is a permissive rule . . . . All Plaintiffs need to do is allege enough factual

information to give fair notice to [Defendant] as to what Plaintiffs’ claim is, and

what events the claim pertains to.”). The R&R erroneously concludes otherwise



apples and oranges.” (Doc. 37 at 19 (quoting Doc. 26 ¶ 16)). To be clear, Maziar
sought to convey that the titles “Executive Director” and “Director” are
equivalent (i.e., an “Executive Director” is not senior or junior to a “Director”). In
no way did Maziar mean to imply that those in the Director and Executive Director
roles could have widely varying responsibilities, experience, and seniority. Read the
way Maziar intended, her allegation here bolsters, not weakens, her argument, as
one of her proffered comparators, Bailey, is an Executive Director (i.e., a Director).

                                           10
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 11 of 24




because Maziar included no allegations concerning her comparators’ “respective job

duties, day-to-day tasks, and required skills.” (Doc. 37 at 20). Notably, however, the

R&R cites no authority requiring that a Plaintiff plead facts about comparators with

that level of granular detail to survive a motion to dismiss. On the contrary, courts

in this circuit have repeatedly held that a complaint need not contain such specific

facts. See, e.g., Winstead, 197 F. Supp. 3d at 1339 (concluding that plaintiffs alleged

enough facts to survive dismissal even though they did not allege that similarly

situated employees were treated more favorably and there was “little [in the

complaint] to indicate that [Defendant’s] actions were motivated by Plaintiffs’ status

as members of a protected class”); Reid, 2021 U.S. Dist. LEXIS 138160, at *14–*17

(rejecting defendant’s argument that plaintiff failed to establish similarly situated

comparators because he did not allege that they were subject to the same

employment policies, had the same disciplinary history, reported to the same

supervisor, or were also probationary employees, noting that a plaintiff “does not

need to allege such specific facts to survive a motion to dismiss.”).

      The cases the R&R relies on for support involve plaintiffs who provided little

to no factual allegations regarding their proffered comparators, and thus are

distinguishable. (See Doc. 37 at 22). In Arafat v. Sch. Bd. of Broward Cnty., the

Eleventh Circuit affirmed the dismissal of a Title VII claim where plaintiff

                                          11
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 12 of 24




“generically referenced younger males, but nowhere in her complaint [did] she

identify any valid comparators.” 549 F. App’x 872, 874 (11th Cir. 2013). Similarly,

in Mallory v. Gartner, Inc., the plaintiff provided only the following allegation

regarding her comparators: “Defendant subjected Plaintiff to a more rigorous

training program than her other non-Hispanic co-workers and refused to transfer

[her] to a more suitable territory,” and “[did] not allege how she and the proffered

comparators were similarly situated.” No. 2:23-cv-462, 2021 U.S. Dist. LEXIS

163499, at *7 (M.D. Fla. Aug. 30, 2021). By contrast, Maziar names four black

Directors who occupied the same level within the Mayor’s administration and who

shared her title, mission, supervisors, and approximate pay grade. Maziar explains

how she and her proffered comparators are similarly situated and her allegations are

far more detailed than those in Arafat and Mallory; thus, those cases cannot justify

barring her claims from proceeding.

      The R&R states it is “not making a substantive assessment that Maziar was

not similarly situated to her alleged comparators,” 5 but in practice it does just that,

or worse. (Doc. 37 at 21). The Magistrate is not even affording Plaintiff the



5
 As the R&R correctly notes, such an assessment is reserved for summary judgment
once the parties have had the opportunity to develop the facts. (Doc. 37 at 21 (citing
Alvarez v. Lakeland Area Mass Transit Dist., 406 F. Supp. 3d 1348, 1354 (M.D. Fla.
2019)).
                                          12
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 13 of 24




opportunity to gather evidence so that a substantive assessment can be made. Instead,

the R&R dismisses the detailed allegations Maziar provides about her proffered

comparators and moves the goalpost to mandate she allege several additional facts,

many of which are outside her knowledge. This Court should reject this troubling

move. The R&R’s requirement that a plaintiff detail the job duties, day-to-day tasks,

and required skills of proffered comparators to survive a motion to dismiss is a

particularly dangerous prospect for plaintiffs like Maziar who occupy department-

head positions and do not interact with their comparators on a daily basis. See, e.g.,

Woodard v. Medseek, Inc., 178 F. Supp. 3d 118, 1198 n.13 (N.D. Ala. 2016) (“To

require that each plaintiff find an identical comparator would effectively preclude

any such action by a high-ranking employee . . . and would restrict the remedies of

the equal pay legislation to those who work at less specialized jobs, such as assembly

line workers or retail clerks.”). Surely a Director of Pediatrics, for instance, could

point to the Directors of Cardiology and Orthopedics as comparators in her

complaint if all are responsible for managing their respective departments at the

same hospital, report to the same person, manage about the same number of

employees, and occupy similar pay grades. Just because the Director of Pediatrics

may not know the Director of Cardiology’s day-to-day duties at the complaint stage,

that should not be a per se bar to her asserting a discrimination claim. The same is

                                         13
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 14 of 24




true here. Maziar has put forth sufficient facts to suggest she and her proffered

comparators are similarly situated. If it turns out, after discovery, that they all

perform vastly different roles for the Mayor and those differences justify the pay

differential, then the Court may dismiss her race discrimination claims at that time.

But, that should not be permitted before discovery is conducted.

     B. The R&R improperly dismisses Maziar’s claims against the individual
        defendants, as she provides sufficient facts to support those claims.

             1. Race discrimination

      Maziar alleges race discrimination claims against Bottoms and Chubb under

the Equal Protection Clause (Count I) and Section 1981 (Count II) because they paid

her black counterparts far more than they paid her and failed to adjust her salary after

she complained about the disparity.6 A public official is liable for unlawful race

discrimination if she either personally participated in the alleged discrimination or

was supervisorily liable for it, meaning, there is a causal connection between the

actions of the supervising official and the alleged conduct. Doe v. Sch. Bd., 604 F.3d


6
   Before Plaintiff filed this lawsuit, the undersigned implored the City’s
representative to provider her with the correct decisionmaker if it was not Bottoms
or Chubb. Defendant resisted and chose not to provide any correction once Plaintiff
filed her initial Complaint. Although Defendants are not required to provide “free”
discovery or make litigating easier for a plaintiff, a government defendant should be
a better steward of taxpayer dollars than filing multiple motions to dismiss claims
against individuals when it was presented with several opportunities to provide
Plaintiff with the proper individual defendant(s).
                                          14
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 15 of 24




1248, 1266 (11th Cir. 2010). A causal connection can be shown where a supervisor’s

policy or custom results in deliberate indifference to constitutional rights or “when

facts support an inference that the supervisor directed the subordinates to act

unlawfully or knew that the subordinates would act unlawfully and failed to stop

them from doing so.” Cottone v. Jenne, 326 F.3d 1352, 1360 (11th Cir. 2003)

(internal quotation marks omitted). A “failure to stop” claim only requires that the

supervisor (1) be able to prevent or discontinue a known constitutional violation by

exercising her authority over the subordinate who commits the constitutional

violation, and (2) subsequently fails to exercise that authority to stop it. Gonzalez v.

Reno, 325 F.3d 1228, 1234 (11th Cir. 2003). Contrary to the R&R’s conclusion,

Maziar plausibly alleged that Bottoms and Chubb were personally liable for

discriminating against her based on race.

      Maziar’s allegations, taken as true and viewed in the light most favorable to

her, indicate that Bottoms and Chubb discriminated against her when they paid

similarly situated black Directors far more than they paid her. (Doc. 26 ¶¶ 21–22).

Maziar expressly alerted the City to this salary disparity, and Chubb, Bottoms’ Chief

of Staff, was aware of Maziar’s complaints at least as of September 2020. (Id. ¶¶

25–27). Additionally, in December 2020 Maziar filed an EEOC Charge against the

Defendants asserting that the compensation disparity was based on race. (Id. ¶ 29).

                                          15
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 16 of 24




The Mayor had the authority to set and change a Director’s precise salary with his

or her designated pay grade, and the Mayor and her designee, which includes Chubb,

reviewed and approved Directors’ salaries, so it is plausible that both were aware of

and perpetuated (or at least did not end) the salary disparity. (Id. ¶¶ 19, 20).

      Instead of crediting Maziar’s well-pleaded allegations, the R&R disregards

key facts, casts others as conclusory, and then summarily states it is implausible that

Bottoms and Chubb were personally involved in paying the black Directors more

than they paid her. (See Doc. 37 at 25–29). The R&R’s first move to reach this

conclusion is its erroneous assertion that allegations based on information and belief

are “not entitled to a presumption of truth at the pleading stage.” (Id. at 25).

However, “pleading ‘upon information and belief’ does not give a court automatic

permission to disregard the subsequent allegations; the inquiry remains the same—

whether the allegations contain sufficient factual content, accepted as true, to state a

claim for relief that is plausible on its face.” Pastore v. GT Mktg. Grp. USA, No.

6:21-cv-1483, 2022 U.S. Dist. LEXIS 24319, at *6 (M.D. Fla. Feb. 10, 2022).

Indeed, courts may credit allegations made “upon information and belief . . . where

the facts are peculiarly within the possession and control of the defendant or where

the belief is based on factual information that makes the inference of culpability




                                           16
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 17 of 24




plausible.” AAA Staffing, Ltd. v. Bomer, No. 1:21-cv-01831, 2022 U.S. Dist. LEXIS

56361, at *13 (N.D. Ga. Mar. 28, 2022) (internal quotation marks omitted).

      This Court should credit Maziar’s allegation that, upon information and belief,

Directors’ salaries are reviewed and approved or adjusted by the Mayor (Bottoms)

or her designee (Chubb), as it is based on facts that allow such an inference and this

information is within Defendants’ control. First, Maziar alleged that the Mayor

(Bottoms) had the authority to set a Director’s precise salary within his or her City-

regulated pay grade; Bottoms appointed or reappointed each Director, including

Maziar and her comparators; and Bottoms and Chubb had authority to take personnel

actions regarding Maziar and other employees. (Doc. 26 ¶¶ 14, 19, 41). These

allegations make it plausible to infer that Bottoms and her Chief of Staff periodically

reviewed and adjusted the salaries of the Directors of her Executive Offices, some

of the highest-ranking members of the Mayor’s administration. Second, whether or

not Bottoms and Chubb in fact did so is uniquely within Bottoms’ and Chubb’s

knowledge. Thus, the Court should not summarily disregard this plausible

allegation, and instead reject the Magistrate’s refusal to view it as plausible.

      The R&R also improperly faults Maziar for not specifically alleging that

“Bottoms or Chubb actually participated in setting or approving” the salaries at issue

or were actually aware of Maziar’s complaints. (Doc. 37 at 26–27 (emphasis

                                          17
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 18 of 24




added)). However, at this point, these facts are within Bottoms’ and Chubb’s

knowledge, and Maziar’s well-pleaded allegations suggest they are at least

plausible.7 See Twombly, 550 U.S. at 570. Again, in pertinent part, Maziar and her

comparators were heads of the Mayor’s Executive Offices; they reported to the

Mayor’s the Chief Operating Officer or the Chief of Staff, both of whom reported to

the Mayor; the Mayor had authority to set their salaries; and upon information and

belief, the Mayor periodically reviewed and adjusted their salaries. Further, Maziar

made complaints to Human Resources for two years about the pay disparity and filed

an EEOC charge alleging race discrimination based on the pay disparity. Based on

these allegations, it is plausible that the Mayor and Chubb got wind of internal and

external complaints coming from a Director of a Mayor’s Executive Office.

      This Court should reject the R&R’s determination that Maziar put forth no

plausible factual basis that Bottoms and Chubb were personally involved setting her

and her comparators’ salaries. As detailed above, Maziar alleged sufficient facts to

raise such a plausible inference and thus that Bottoms and Chubb were personally

involved in discriminating against her based on race; accordingly, this Court should

allow these claims against the individual defendants to proceed.



7
 In fact, as Maziar alleged, she knows Chubb was aware of her complaints at least
as of September 2020. (Doc. 26 ¶ 27).
                                        18
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 19 of 24




             2. Retaliation

      A plaintiff establishes a prima facie case of retaliation under Section 1981 by

showing that: (1) she engaged in statutorily protected activity; (2) she suffered a

materially adverse action; and (3) there was a causal connection between the

protected activity and the adverse action. Chapter 7 Trustee v. Gate Gourmet, Inc.,

683 F.3d 1249, 1258 (11th Cir. 2012). However, a complaint need not establish a

prima facie case of retaliation to survive a motion to dismiss; it need only allege

facts that “possess enough heft” to set forth “a plausible entitlement to relief.” Fin.

Sec. Assur., Inc. v. Stephens, Inc., 500 F.3d 1276, 1282 (11th Cir. 2007) (quoting

Twombly, 550 U.S. at 557, 559).

      The R&R errs in concluding that Maziar failed to do so with respect to

Bottoms and Chubb because her Second Amended Complaint does not contain

sufficient allegations to suggest it is plausible that the two were involved in the

decisions to demote or terminate her. (Doc. 37 at 29–32). Again, the R&R discounts

Maziar’s factual allegations to conclude her claim is merely “possible” and not

“plausible.” (Id. at 31). To recap: after Maziar filed an EEOC charge on December

21, 2020, her position underwent major changes within the following months. (Doc.

26 ¶¶ 29–30). Before filing her EEOC charge, Maziar had direct access to Bottoms;

after filing her charge, Maziar was told she was no longer allowed to reach out to

                                          19
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 20 of 24




her without prior authorization from Chubb or her new supervisor. (Id. ¶ 30). On

April 27, 2021, Maziar amended her EEOC charge to include reference to the

changes in her position. (Id. ¶ 31). Nine days after Maziar amended her charge, she

was fired. (Id. ¶ 35). And as a high-ranking Director within the Mayor’s office, only

the Mayor or her designee, which included Chubb, had the authority to demote or

terminate Maziar. (Id. ¶ 36); see City of Atlanta Code of Ordinances, Procedure for

Imposing Disciplinary Action, Sec. 114-529(c)(2), (3) (“The appointing authority or

designee may demote [and dismiss] an employee for cause . . . .”).

      Further, upon information and belief, Bottoms or Chubb either authorized or

initiated Maziar’s demotion and/or termination. (Doc. 26 ¶ 36). Contra the R&R, the

Court should credit this allegation, as it is based on facts that allow such an inference

and this information is within Defendants’ control. See AAA Staffing, Ltd., 2022 U.S.

Dist. LEXIS 56361, at *13. Unlike the vast majority of City employees, Maziar was

a high-ranking member of Bottoms’ administration. Prior to her demotion, she

reported directly to Chubb (who reported directly to Bottoms) and had direct access

to Bottoms. (Doc. 26 ¶¶ 17, 30). Who other than Chubb and Bottoms—who had the

authority to appoint, demote, and terminate her—could make the decision to demote

her? How could anyone other than Bottoms and/or Chubb authorize the demotion

and then termination of the Director of an Executive Office? Although Maziar now

                                           20
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 21 of 24




does not know with certainty that either actually called for her demotion or

termination, her allegations give rise to a reasonable inference that they did, which

is enough to survive Defendants’ motion to dismiss. See Twombly, 550 U.S at 556

(a plaintiff need only allege sufficient facts “to raise a reasonable expectation that

discovery will reveal evidence” that supports her claim).

     C. The R&R erroneously concludes that Maziar failed to establish Monell
        liability sufficient to survive a motion to dismiss.

      Under Monell v. Dep’t. of Soc. Servs., 436 U.S. 658 (1978), the City is liable

under Section 1983 for constitutional violations resulting from: (1) an official

government policy; (2) a custom or practice so pervasive and settled it assumes the

force of law; or (3) the actions of an official fairly deemed to represent governmental

policy. Monell, 436 U.S. at 694; Oladeinde v. City of Birmingham, 230 F.3d 1275,

1295 (11th Cir. 2000). Monell liability may arise with regards to an employment

decision, including a termination, “provided that the decisionmaker possesses final

authority to establish municipal policy with respect to the action ordered.” Quinn v.

Monroe Cnty., 330 F.3d 1320, 1325 (11th Cir. 2005) (quoting Pembaur v. City of

Cincinnati, 475 U.S. 469, 481 (1986)). Final policymaking will vest where an

official’s decision is insulated from administrative review. See Martinez v. City of

Opa-Locka, Fla., 971 F.2d 708, 713–15 (11th Cir. 1992) (finding final policymaking


                                          21
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 22 of 24




authority where “the City Manager’s decision to hire or fire administrative personnel

is completely insulated from review”).

      Once more, the R&R concludes that Maziar’s allegations are insufficient to

support a plausible claim that a final policymaker—here, Mayor Bottoms—

approved of the pay disparity Maziar experienced. (Doc. 37 at 32–36). The R&R is

mistaken. Maziar alleged that Bottoms had the authority to set Maziar’s and other

Directors’ salaries within the City-regulated pay grade and Bottoms reviewed and

approved or adjusted such salaries. (Doc. 26 ¶¶ 19–20). Although Defendants have

suggested that Directors’ salaries are fixed by the City Council (see Doc. 32-1 at 20),

the City’s ordinances indicate that the Mayor “shall have authority” to hire

department heads at the maximum salary within the designated range. City of

Atlanta Code of Ordinances Sec. 114-125(b)(3). Specifically, “the mayor shall have

authority to hire executive officers, department heads, deputies and equivalent up to

the maximum assigned pay grade provided that prior to budget funding is allocated.”

Id. In this case, the pay differentials between Maziar and her proffered comparators

plausibly fall within a single range and thus within the Mayor’s control without

further review.

      Based on these allegations, Maziar has plausibly alleged that Bottoms had

final policymaking authority with respect to her and her comparators’ salaries, which

                                          22
    Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 23 of 24




sufficient to give rise to reasonable inference that Monell liability is present. Thus,

the Court should reject the R&R’s contrary conclusion.

   IV.    CONCLUSION

      For the foregoing reasons, Maziar respectfully requests that the Court sustain

her objections to the R&R and deny Defendants’ motion to dismiss.

      Respectfully submitted this 7th day of June 2022.

                                        LEGARE, ATTWOOD & WOLFE, LLC

                                        s/ Eleanor M. Attwood
                                        Eleanor M. Attwood
                                        Georgia Bar No. 514014
                                        emattwood@law-llc.com
                                        Marcela X. Johnson
                                        Georgia Bar No. 328871
                                        mxjohnson@law-llc.com

LEGARE, ATTWOOD & WOLFE, LLC
125 Clairemont Avenue, Suite 380
Decatur, Georgia 30030
Telephone: (470) 823-4000
Fax: (470) 201-1212

Counsel for Plaintiff




                                          23
     Case 1:21-cv-02172-SDG-CMS Document 41 Filed 06/07/22 Page 24 of 24




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

MICHELLE MAZIAR,                         )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )        CIVIL ACTION FILE NO.
                                         )        1:21-cv-02172-SDG-CMS
CITY OF ATLANTA, GEORGIA,                )
et al.                                   )
                                         )
      Defendants.                        )
                           CERTIFICATE OF SERVICE

      I certify that on this 7th day of June 2022, I filed the foregoing Plaintiff’s

Objections to Magistrate Judge’s Non-Final Report and Recommendation with

the Clerk of Court using the Court’s CM/ECF filing system which will send

notification of such filing to all attorneys of record.

      Natasha Wilson – wilsonn@gtlaw.com
      Jacob Dean – deanj@gtlaw.com

                                         s/ Eleanor M. Attwood
                                         Eleanor M. Attwood
                                         Georgia Bar No. 514014
                                         emattwood@law-llc.com




                                             24
